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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                     8:14CR356

       vs.
                                                       FINAL ORDER OF FORFEITURE
FROYLAN CHAN,
ANGEL GABINO-GONZALEZ,
QUIRINO GABINO-GONZALEZ, and
VICTOR LORENZO-GALLARDO,

                      Defendants.




       This matter comes on before the Court upon the United States= Motion for Final Order of

Forfeiture (Filing No. 131). The Court reviews the record in this case and, being duly advised in

the premises, finds as follows:

       1. On June 9, 2015, the Court entered a Preliminary Order of Forfeiture (Filing No. 98)

pursuant to the provisions of Title 21, United States Code, Sections 846 and 853 based upon the

Defendants’ plea of guilty to Count I and the Forfeiture Allegation of the Indictment filed herein.

By way of said Preliminary Order of Forfeiture, the Defendants’ interest in $7,642.00 in United

States currency was forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on June 11, 2015, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions. A Declaration of Publication was filed herein on October 2, 2015

(Filing No. 130).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

       B.    All right, title and interest in and to the $7,642.00 in United States currency held by

any person or entity are hereby forever barred and foreclosed.

       C. The $7,642.00 in United States currency be, and the same hereby is, forfeited to the

United States of America.

       D. The United States is directed to dispose of said property in accordance with law.

       DATED this 6th day of October, 2015.


                                              BY THE COURT:



                                              ___s/ Joseph F. Bataillon_____________
                                              JOSEPH F. BATAILLON
                                              Senior United States District Judge




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